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        EXHIBIT K
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[Update: Samsung responds] Galaxy S9/S9+ plagued with touch screen issues - PiunikaWeb  9/20/19, 10(08 PM




       [Update: Samsung responds] Galaxy
       S9/S9+ plagued with touch screen
       issues
       Aparajita_1989

       Update (March 23): Happy to see our coverage has created a positive
       impact. Samsung has issued an official statement on the matter, saying
       they are aware of these reports, and are investigating the matter.

           At Samsung, customer satisfaction is core to our business and we
           aim to deliver the best possible experience. We are looking into a
           limited number of reports of Galaxy S9/S9+ touchscreen
           responsiveness issues. We are working with affected customers
           and investigating.

           We encourage any customer with questions to contact us directly
           at 1-800-SAMSUNG.

       Meanwhile, use the method described here to test whether or not your
       Galaxy S9 touchscreen is faulty.

       Update (March 22): Reports continue to pour in – see here, here, and here.

       Update (March 21): Multiple Galaxy S9/S9+ users are also reporting they
       get the following proximity sensor-related message randomly while using
       their units in different scenarios:

           “Touch input blocked

           To prevent this from happening again, check if the proximity sensor

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                                                                                                         DARELTECH_0002910
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           is blocked.

           Tap OK to continue using your phone”

       Original story follows:

       Weʼve highlighted several Galaxy S9/S9+ related issues so far, including
       Samsung Pay throwing errors, Super Slow mo output not up to the mark,
       black areas in videos not showing properly, and HDR not working. Sadly, the
       list seems to be expanding further, as users have been reporting another
       major problem with their newly-bought flagship smartphones.

       Weʼve come across several reports (1,2,3,4,5) where Galaxy S9/S9+ users
       are complaining about touch screen issues on their devices. While some
       say the screen fails to register touches correctly, others have observed a far
       more serious problem of dead spots on their deviceʼs display.

       Following are some complaints of dead spots:

           So pissed. My S9+ top part of the screen just died. I cant pull
           notification down… 3 day old phone

           My S9+ stop registering touches on the top and a few other spots…
           Sucks man!

           Does anyone else have issues with the Galaxy S9 touch screen? Iʼve
           got a few dead spots on the bottom half of my screen. Getting a
           replacement phone shipped but do wonder if it is bad luck or a more
           common issue with the phone

           My S9 has dead spots as well, right out of the box. Actually a dead
           strip that runs horizontal next to the bottom volume button.


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                                                                                                         DARELTECH_0002911
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           Yes! I got the phone directly through Samsung and called them for a
           replacement. They recommended I order a new phone (now on
           backorder) and send them back the defective device. They emailed
           the return shipping label to me.

       And here are some touch registration-related reports:

           Picked up a snapdragon s9+ on T-Mobile and having weird issues
           with the screen registering touches. I seem to get a fair amount of
           phantom ones and swiping on the keyboard is a mess. I was using a
           film screen protector but took it off thinking that might be causing
           issues. Increased the touch sensitivity but that hasnʼt helped either.

           Iʼm having this problem as well, my words get broken up and if I try
           to type ‘comeʼ itʼll come out as ‘C os meʼ and itʼs driving me insane.
           Takes me forever because I have to constantly go back and retype
           everything.

       Hereʼs a gif shared by one of the complainants showcasing the problem:




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                                                                                                         DARELTECH_0002912
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             s9-touch-issues




           Have noticed the same thing when swiping on things. Seems to
           drop the touch momentarily. S9+ with no screen protector.

           I went back to Costco and got it exchanged

       The reports arenʼt widespread at the moment. It could be due to only a
       small number of units being defected, but what seems more likely is the
       fact that shipments are still in the process. So itʼll be interesting to see the
       scenario after a couple of weeks or so.
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       Needless to say, weʼre monitoring the situation, and will update as and
       when anything news-worthy happens. Until then, stay tuned.

       Stay connected with us on Twitter (@PiunikaWeb) to hear about all related
       developments as and when they occur

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